             Case
           Case:   4:07-cv-05944-JST
                 14-16817    09/23/2014Document  2856-1 Filed
                                            ID: 9250244       09/18/14
                                                           DktEntry: 1-4 Page 1 of1 3of 3
                                                                           Page:

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                         September 23, 2014


       No.:                     14-16817
                                3:07-cv-05944-SC,
       D.C. Nos.:
                                3:13-cv-01173-SC,
       Short Title:             Sharp Electronics Corporation, et al v. Hitachi, Ltd., et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
       Case
     Case:   4:07-cv-05944-JST
           14-16817    09/23/2014Document  2856-1 Filed
                                      ID: 9250244       09/18/14
                                                     DktEntry: 1-4 Page 2 of2 3of 3
                                                                     Page:




                     UNITED STATES COURT OF APPEALS
                                                                       FILED
                            FOR THE NINTH CIRCUIT
                                                                        SEP 23 2014
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




In re: CATHODE RAY TUBE (CRT)                   No. 14-16817
ANTITRUST LITIGATION,
                                                D.C. Nos.
SHARP ELECTRONICS
                                                3:07-cv-05944-SC,
CORPORATION; SHARP
                                                3:13-cv-01173-SC,
ELECTRONICS MANUFACTURING
COMPANY OF AMERICA, INC.,
                                                U.S. District Court for Northern
              Plaintiffs - Appellants,          California, San Francisco
v.
                                                TIME SCHEDULE ORDER
DIRECT PURCHASER PLAINTIFFS,

              Plaintiff - Appellee,

 v.

HITACHI, LTD.; HITACHI AMERICA,
LTD.; HITACHI ASIA, LTD.; HITACHI
DISPLAYS, LTD.; HITACHI
ELECTRONIC DEVICES (USA), INC.;
SAMSUNG SDI CO., LTD.; SAMSUNG
SDI AMERICA, INC.; SAMSUNG SDI
MEXICO S.A. DE C.V.; SAMSUNG
SDI BRASIL LTDA; SAMSUNG SDI
(MALAYSIA) SDN BHD; SHENZHEN
SAMSUNG SDI CO. LTD.; TIANJIN
SAMSUNG SDI CO., LTD.; SAMSUNG
SDI (HONG KONG), LTD.,

              Defendants - Appellees.
     Case
   Case:   4:07-cv-05944-JST
         14-16817    09/23/2014Document  2856-1 Filed
                                    ID: 9250244       09/18/14
                                                   DktEntry: 1-4 Page 3 of3 3of 3
                                                                   Page:



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Tue., September 30, 2014      Mediation Questionnaire due. If your registration for
                              Appellate ECF is confirmed after this date, the
                              Mediation Questionnaire is due within one day of
                              receiving the email from PACER confirming your
                              registration.
Mon., October 20, 2014        Transcript shall be ordered.
Tue., November 18, 2014       Transcript shall be filed by court reporter.
Mon., December 29, 2014 Appellant's opening brief and excerpts of record shall
                        be served and filed pursuant to FRAP 32 and 9th Cir.
                        R. 32-1.
Thu., January 29, 2015        Appellees' answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 32 and
                              9th Cir. R. 32-1.

The optional appellant's reply brief shall be filed and served within fourteen
days of service of the appellees' brief, pursuant to FRAP 32 and 9th Cir. R.
32-1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                                 FOR THE COURT:
                                                 Molly C. Dwyer
                                                 Clerk of Court

                                                 Ruben Talavera
                                                 Deputy Clerk
